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                            UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                   CRIMINAL MINUTES

 Date: October 21, 2021          Time: 4 minutes             Judge: WILLIAM H. ORRICK
                                 2:47 p.m. to 2:51 p.m.

 Case No.: 19-cr-00031-WHO-1     Case Name: UNITED STATES v. Isaac

Attorney for Plaintiff:      Cynthia Stier
Attorney for Defendant:      David Rizk
                             Defendant Tommy Bruce Isaac – present, on bond

  Deputy Clerk: Jean Davis                           Court Reporter: Ruth Levine Ekhaus
  Interpreter: n/a                                   Probation Office: Monica Romero
                                                     (appearing by videoconference)


Mr. Isaac failed to appear for Sentencing Hearing. He contacted Mr. Rizk at approximately 1:30
p.m. from CenterPoint indicating that he believed the sentencing would be conducted via
videoconference. The calling of the hearing was delayed to allow for Mr. Isaac’s transit. Ms.
Stier agrees to prepare an arrest warrant for the Court’s execution if he fails to appear.
